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Stephen Miller

wee gy te 55 Ocean Spray Avenue
Narragansett, RI 02882
March 11, 2022

 

Honorable Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300

Boston, Massachusetts 02210

Dear Judge Woodlock,

I am one of Jasiel Correia’s victims associated with the SnoOwl App. I stood before you
as a witness for the prosecution by the United States. First, I would like to commend you for the
professionalism you displayed throughout the trial. As someone who was not only a victim, but
also part of the trial. I believe the verdict and sentencing was right and just.

However, I have recently become appalled by your repeated decisions to grant Jasiel
Correia extensions to report to prison. After I was notified that you approved a sixth extension,
delaying Jasiel’s incarceration date until April 15, 2022 I felt compelled to write you. I could not
be more discouraged and disappointed in your decision. These extensions in my opinion are
obscenely lenient and a travesty of justice. Every extension granted by Your Honor, are a slap in
the face to all the investigators, witnesses, jurors, victims, Fall River Residents, and Federal
Prosecutors.

Jasiel Correia has displayed an arrogant, above-the-law, narcissistic attitude. During the
extensions you have granted the convicted felon, he has had the audacity to frequent the ‘Hil! &
Harbor Cigar Lounge’ in East Greenwich, RI. While patronizing this establishment, he has been
seen enjoying cocktails and smoking cigars while entertaining friends — exhibiting actions
similar to those of Mr. Vincent “Buddy” Cianci. I am not the only one who has heard about it his
actions while on these extensions; popular radio talk shows in the area have started referring to
him as the “Teflon Don” because he can be seen publicly enjoying a lavish life while avoiding
prison time similar to the mafia boss John Gotti Jr. Jasiel Correia has continued to make a
mockery of the Federal Court System by his arrogance and actions while on these extensions.

Jasiel has shown no remorse and has made absolutely no effort to pay a dime of
restitution to his victims. In learning of his sixth extension, I have to ask myself, am I being
victimized for the second time by Your Honor’s repeated leniency granted to Jasiel Correia?
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The claims that Jasiel is needed at his wife’s family’s restaurant are bogus. They never
needed his help and he never worked there prior to him getting into legal trouble. COVID-19 is
under control and Jasiel is a healthy 30 year old — there are no health concerns there. Your
Honor, I believe that it is extremely unfair that you allowed another extension. It is time Jasiel
reports for his incarceration and serves the time he was sentenced.

I welcome a response to this letter at your earliest convenience to assist me in
understanding to the six egregious extensions you have granted Jasiel Correia.

 
   

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